            Case 3:21-cv-00422-SDD-EWD            Document 18        03/02/22 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA

    DISABILITY RIGHTS LOUISIANA                                            CIVIL ACTION NO.

    VERSUS                                                                 21-422-SDD-EWD

    COURTNEY N. PHILLIPS,
    In Her Official Capacity
    as Secretary of the Louisiana Department of Health

                     TELEPHONE CONFERENCE REPORT AND ORDER

              A telephone conference was held before Magistrate Judge Erin Wilder-Doomes on

      March 2, 2022, with the following participants:

       PRESENT:             Debra J. Weinberg                    Neal R. Elliot, Jr.
                            Melanie A. Bray                      Christina L. Robertson
                            Counsel for Plaintiff,               Jessica L. Mott
                            Disability Rights Louisiana          Counsel for Defendant,
                                                                 Courtney N. Phillips

           The telephone conference was a follow up to the parties’ November 4, 2021 settlement

conference. 1 Counsel for both parties advised that they are continuing settlement discussions to

resolve the remaining issue and that the parties have not, yet, reached impasse. Good cause exists

to continue to defer entry of a scheduling order at this time. The parties shall file a joint notice of

settlement by no later than April 18, 2022, if they are able to resolve all claims. If not, a scheduling

order will be issued based on the dates provided in the October 8, 2021 status report. 2

           IT IS ORDERED that entry of a scheduling order is deferred for good cause while the

parties continue settlement discussions. If the parties resolve all claims, they shall file the joint

notice of settlement required under Local Civil Rule 1(c) by no later than April 18, 2022.

           Signed in Baton Rouge, Louisiana, on March 2, 2022.


                                                S
                                                ERIN WILDER-DOOMES
1
    R. Doc. 14.
                                                UNITED STATES MAGISTRATE JUDGE
2
    R. Doc. 9.


      cv38a;T:10
